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8                            UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   1472 NEPTUNE LLC,                                   Case No.: 19-CV-2070-WVG
12                                      Plaintiff,
                                                         ORDER OF DISMISSAL WITH
13   v.                                                  PREJUDICE
14   PAUL H. MEARDON et al.,
15                                  Defendants.
16
17          The joint motion to dismiss is GRANTED and IT IS HEREBY ORDERED that 1472
18   Neptune, LLC’s complaint and claims for relief against Paul H. Meardon and Vince
19   Meardon in Case No. 19-CV-2070-WVG are DISMISSED with prejudice.
20          The undersigned Magistrate Judge will retain jurisdiction over the parties and the
21   matter until June 1, 2023, for the purpose of enforcing the terms of the settlement between
22   the parties.
23          IT IS SO ORDERED.
24   DATED: February 6, 2020
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